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US. DISTRICT COUR
NORTHERN DIS ih

IN THE UNITED STATES DISTRICT CGURT__ FILED. EXAS
FOR THE NORTHERN DISTRICT OF TEXAS

 

NOV - 5 2009

 

CLERK, U.S. DISTRICT COURT

MOTION UNDER 28 U.S.C. SECTION 2255, By
TO VACATE, SET ASIDE, OR CORRECT SENTENCE BY A
PERSON IN FEDERAL CUSTODY

 

Deputy

UNITED STATES OF AMERICA FM - Cais wel|

PLACE OF CONFINEMENT

ms 54 230-/)0

 

 

 

PRISONER ID NUMBER
LACE? RENEE SIOOKE 4é/7-Ck-COXY- OCD
MOVANT (full name of movant) CRIMINAL CASE NUMBER

(If a movant has a sentence to be served in the future under a federal judgment which he wishes to attack, he should
file a motion in the federal court which entered the judgment.)

 

INSTRUCTIONS - READ CAREFULLY

1. This motion must be legibly handwritten or typewritten, and signed by the movant under penalty of
perjury. Any false statement of a material fact may serve as the basis for prosecution and conviction for
perjury. All questions must be answered concisely in the proper space on the form.

2: Additional pages are not permitted except with respect to the facts which you rely upon to support your
grounds for relief. No citation of authorities needs to be furnished. If briefs or arguments are submitted,
they should be submitted in the form of a separate memorandum.

3, Upon receipt, your motion will be filed if it is in proper order, No fee is required with this motion.
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If you do not have the necessary funds for transcripts, counsel, appeal, and other costs connected with a
motion of this type, you may request permission to proceed in forma pauperis, in which event you must
execute the declaration provided with this motion, setting forth information establishing your

inability to prepay the fees and costs or give security therefor. If you wish to proceed in forma
pauperis, you must have an authorized officer at the penal institution complete the certificate as to the
amount of money and securities on deposit to your credit in any account in the institution.

Only judgments entered by one court may be challenged in a single motion. If you seek to challenge
judgments entered by different judges or divisions either in the same district or in different districts,
you must file separate motions as to each such judgment.

Your attention is directed to the fact that you must include all grounds for relief and all facts supporting
such grounds for relief in the motion you file seeking relief from any judgment of conviction.

When the motion is fully completed, the original and two copies must be mailed to the Clerk of the
United States District Court for the Northern District of Texas at the appropriate divisional office
whose address 1s:

Abilene Division Amarillo Division Dallas Division

341 Pine St, Rm 2008 205 SE Sth Ave, Rm 133 1100 Commerce St, Rm 1452
Abilene, TX 79601 Amarillo, TX 79101 Dallas, TX 75242

Fort Worth Division Lubbock Division San Angelo Division

501 W 10th St, Rm 310 1205 Texas Ave, Rm 209 33 E Twohig Ave, Rm 202
Fort Worth, TX 76102 Lubbock, TX 79401 San Angelo, TX 76903

Wichita Falls Division
1000 Lamar St, Rm 203
Wichita Falls, TX 76301

Motions which do not conform to these instructions will be returned with a notation as to the deficiency.
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MOTION

1. Name and location of court that entered the judgment of conviction you are challenging:

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Fett tsorth, FexaD.

 

2. Date of the judgment of conviction:

 

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3. Length of sentence: JYY PV oy kha

4. Nature of offense involved (all counts):

 

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5. (a) What was your plea? (Check one)
Not guilty [/] Guilty rz Nolo contendere (no contest) [__]

(b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or
or indictment, what did you plead guilty to and what did you plead not guilty to?

 

sf

NV

 

 

 

6. If you went to trial, what kind of trial did you have? (Check one)4/AJury [| Judge Only [|

7. Did you testify at the trial? (Check one) Yes [] No
8. Did you appeal from the judgment of conviction? (Check one) Yes NJ No [_]

9. If you did appeal, answer the following:
Name of Court: SF ISEh Cire ut $ Coup? oF A freak

Result: a> tof
Date of result: ff O-G ~ do Ob
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10. Other than a direct appeal from the judgment of conviction and sentence, have you previously filed any
petitions, applications, or motions with respect to this judgment in any federal court?

Yes [Xx] No [] -Filirg 3582 Compardionatc Keleaag

11. If your answer to 10 was "Yes" give the following information:

Name of Court: “Dist ria@k lau ph dear. DViortkern District.

Nature of proceeding:

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UN Ber BSx>CO02CA)- for Could onal extracrd mary

Erol Cormpaell ig Aoabeon

Grounds raised:
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Did you receive an evidentiary hearing on your petition, application or motion?

Yes [| No N
Result: SA Jor2 Ye 4
Date of result: AVA,

As to any second petition, application or motion, give the same information:

Name of Court: M/A

Nature of proceeding:

Grounds raised:

 

 

Did you receive an evidentiary hearing on your petition, application or motion?

Yes [] No [|

Result:

 

Date of result:

 
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As to any third petition, application or motion, give the same information:

Name of Court: f) YY A

Nature of proceeding:

 

N/A

Grounds raised:

 

NYA,

Did you receive an evidentiary hearing on your petition, application or motion?

Yes[_] No Bd
Result: AY A
Date of result: MWA

 

Did you appeal to an appellate federal court having jurisdiction, the result of action taken on any petition,
application or motion?

First petition, etc. Yes [| No AJ
Second petition, etc. Yes[_] No A]
Third petition, etc. Yes[ ] No AK]

If you did not appeal from the adverse action on any petition, application or motion, explain briefly why
you did not:

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12. State concisely every ground on which you claim that you are being held unlawfully. Summarize briefly
the facts supporting each ground. If necessary, you may attach pages stating additional grounds and facts
supporting same.

CAUTION: If you fail to set forth all grounds in this motion, you may be barred from presenting
additional grounds at a later date.

For your information, the following is a list of the most frequently raised grounds for relief in these
proceedings. Each statement preceded by a letter constitutes a separate ground for possible relief. You may
raise any grounds which you may have other than those listed. However, you should raise in this petition all
available grounds (relating to this conviction) on which you based your allegations that you are being held
in custody unlawfully.

DO NOT CHECK ANY OF THESE LISTED GROUNDS. If you select one or more of these grounds for
relief, you must allege facts. The motion will be returned to you if you merely check (a) through (j) or any
of these grounds.

(a) Conviction obtained by plea of guilty which was unlawfully induced or not made
voluntarily or with understanding of the nature of the charge and the consequences of the plea.

(b) Conviction obtained by use of coerced confession,

(c) Conviction obtained by use of evidence gained pursuant to an unconstitutional
search and seizure.

(d) Conviction obtained by use of evidence obtained pursuant to an unlawful arrest.
(e) Conviction obtained by a violation of the privilege against self-incrimination.

(f) Conviction obtained by the unconstitutional failure of the prosecution to disclose to the
defendant evidence favorabie to the defendant.

(g) Conviction obtained by a violation of the protection against double jeopardy.

(h) Conviction obtained by action of a grand or petit jury which was unconstitutionally
selected and impaneled.

(i) Denial of effective assistance of counsel.

(j) Denial of right to appeal.
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A. — Ground One:

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when He Gekal Aament Warfess than S.S grams Kot
7? kilos of Cohosh Foe"!

 

Supporting FACTS (tell your story briefly without citing cases or law):

—Sve Attacked.

 

B. Ground Two:
Defendant's Adterney failed te rake phoper objections
xo DeSeadents pt

Supporting FACTS (tell your story briefly without citing cases or law):

arg Mttac hed.

 

C. Ground Three:
Desendaak tear Aigh dve fo Vebntery mtexicapicn .

Supporting FACTS (tell your story briefly without citing cases or law):

Defendant had at Tat hast olgramh of Me phamyppheta mipe
and. NXGNCK mh er System tertle he; ah datetrogatteh.
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D. Ground Four:
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Eko “De: bndant Y wanted fihek, Aidat Ze ove’. any OFes/ Cord
onty dite for Nepel on Supewised Kelas

Supporting FACTS (tell your story briefly without citing cases or law):

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b¢ pynw Peja” &S Sko told Lin fo arhect for

13. If any of the grounds listed in 12A, B, C, and D were not previously presented, state briefly what grounds
were not so presented, and give your reasons for not presenting them:

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14. Do you have any petition or appeal now pending in any court as to the judgment under attack?
Yes[/] No [_]

15. Give the name and address, if known, of each attorney who represented you in the following stages
of the judgment attacked herein:

(a) At preliminary hearing:

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(b) At arraignment and plea:

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(c) At trial:

(d) At sentencing:

Te) i ian Toigah

(e) On appeal

WIiaaBiga)

(f) In any post-conviction proceeding:

ai ee

(g) On appeal from any adverse ruling in a post-conviction proceeding:

Oupiema er William. Bigap

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16. Were you sentenced on more than one count of an indictment, or on more than one indictment, in the
same court and at approximately the same time?

Yes[_] No val

17. Do you have any future sentence to serve after you complete the sentence imposed by the judgment
under attack?

Yes [] No aR

(a) If so, give name and location of court which imposed sentence to be served in the future:

pd

(b) And give date and length of sentence to be served in the future:

N/A

(c) Have you filed, or do you contemplate filing, any petition attacking the judgment which imposed
the sentence to be served in the future?

Yes [| No a}

Wherefore, movant prays that the Court grant petitiOner relief to which he may be entitled in this
proceeding.

 

 

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Address
FOTS 2°13 Pez yyorth Dbla>

 

City, State & Zip Code

JA,

Telephone (including area code)

I declare (or certify, verify, or state) under penalty of “\ that the foregoing is true and correct.

Executedon //) -6-Qes (date). a\
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MOVANT'S "GHOST DOPE" WAS BASED UPON UNRELIABLE CONFIDENTIAL INFORMANT INFORMATION

A sentencing court acts within its discretion when it credits confidential informants’ statements about drug quantity, but when a
defendant objects, the evidence supporting that quantity must be found to be reliable. While that step may prove modest, it
needs to be taken, lest a defendant face the risk of being sentenced on the basis of unreliable information.

That is what happen to defendant in the case at hana.

Under the Sentencing Guidelines, quantities matter in drug cases. The higher the quantity of drugs attributed to the defendant,
the higher his offense level, and in turn the higher his sentencing range. U.S. Sentencing Guidelines Manual Section 2D1.1.

A criminal defendant has a due process right to be sentenced based on accurate information. Reliability is a central ingredient
of the due process analysis: where the district court sentences a defendant based on the drug-quantity guidelines, it must find
the government's information sufficiently reliable to determine drug quantity by a preponderance of the evidence. Where a
district court relies on evidence that substantially increases drug quantity, it must take care in determining the accuracy of that
evidence. And all of this. is So where aidistrict court isiexercising the discretion recognized by the U.S. Court of Appeals for the
Seventh Circuit in United States v. Corner.

A sentencing judge may rely on a presentence report (PSR) if it is well-supported and appears reliable. Under those
circumstances, the defendant bears the burden of coming forward with facts demonstrating that the information in the PSR is
inaccurate or unreliable. But where these reliability attributes are altogether absent and the PSR instead asserts nothing but a
naked or uns Bppored oe oe defendant's denial of that information suffices to cast Ey on its accuracy.

A court's credibility determinations at sentencing-even where a witness ha a history of eriminal activity or drug use, as is often
the case for informants’ in drug-related prosecutions! Though the threshold for a sufficient reliability finding may be low, it is not
so low as to be met in the face of a SO eee $ oon by 2 a once al informant's out- of- eeu slate ent Se eee

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Facing a defendant's Abjection dating Sentencing; to ‘confidential informant's (Cl's) out- of-court statement unaccompanied by
any additional support, the district court must take some step to ensure that the Cl-provided information has a modicum of
reliability. It remains within the district court's discretion to determine that step. It may be enough for the government to supply
the probation office, and, in turn, for the PSR to include, so statement bearing on reliability of information provided bya
confidential source. In other instances, the disirict ' court may choose to request and review law enforcement reports containing
the Cl's reported information or information on the Cl's reliability. In still others, the district court may find it appropriate to
receive testimony from the handling case agent. The court's observations i in no way are intended to catalogue or prescribe the
available pathways. How to’ proceed with the one inquiry and on what to base the reliability nei are committed ta the
district court's’ ee judgment.” : ; :

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{948 F.3d a6) Scudder, Circuit haga ‘Polite delved 443.7 Kisgrams of marijuana far Joel Helding' $ car and spade and |
he pleaded guilty to possessing over 100 kilograms.’ But ‘at séntencing, the district court held him responsible for the equivalent |
of 4679.7 -kilograms‘over 32 timie 'the:‘amount seized. The additional quantity was based solely on Presentence Investigation
Report's account that confidential informants told law enforcement’ Helding was dealing significant quantities of
methamphetamine during the relevant period: The drug quantity détermination had a sizable’ effect on 1 Helding’ s advisory
gu oNaes range, ae it ore shes ultimate Sends of 18 Pa Seta Ur

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A sentencing court acts Within its aiscreton When! it credits confidential informants’ statements (2020 U.S.. App LEXIS 2} about
drug quantity, but when a defendant objects, the evidence supporting that quantity must be found to be reliable. While that step
may prove modest, it needs tobe taken, lest a defendant face:the risk of being seritenced on the basis of unreliable information.
The Statements here, without more, fell short of that threshold. So the case of Helding was remanded for resentencing the

same’ should hold true for the mavant at issué here. '

In January 2018, a ponidentat informant told Wisconsin law enforcement that Joel Helding and his now-wife, Valerie Flores,
planned to drive a substantial amount of methamphetamine from California to Wisconsin. Law’ ‘Enforcement used the
informant's me to ee a court to track Flores’ s eS and me monitor the pair's location as they drove. Once Helding and’

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Flores arrived in Wisconsin, state police stopped and apprehended them. The officers then seized 143.7 kilograms of marijuana
from Helding's car, while aiso finding him in sossession of two firearms, a 9mm Smith and Wesson and Ruger LCP .380. A
subsequent search of his apartment, undertaken pursuani to a warrant, further uncovered 15.2 grams of marijuana and digital

scales containing methamphetamine residue.

A grand jury charged Helding with possessing {2020 U.S. App. LEXiS 3} and intending to distribute more that 100 kilograms of
Marijuana, 21 U.S.C. Section 841(a)(1), and possessing a firearm in furtherance of drug trafficking, 18 U.S.C. Section 924(c).
Helding pleaded guilty to both counts, which subjected him to a mandatory minimum sentence of 15 years' imprisonment - ten |
for drug offense and five consecutive for firearm possession.

Under the Sentencing Guidelines, quantities matter in drug cases. The higher quantity of drugs attributed to the defendant, the
higher his offense level, and in turn the higher his sentencing range See U.S.S.G Section 2D1.1(c). Helding's case provides a

stark illustration.

The U.S. Probation Office prepared a Presentence Investigation Report (often shorthanded PSR) in advance of sentencing. In
determining drug quantity, the {948 F.3d 867} PSR recommended holding Helding accountable for not only the 143.7 kilograms
of marijuana that police found in his car and apartment, but also additional quantities based on an application of the relevant
conduct rule in the Sentencing Guidelines. See U.S.S.G. Section 1B1.3(a)(1)(B) (explaining that for guidelines purposes, where
a defendant jointly undertakes criminal activity, the relevant conduct includes all reasonably foreseeable acts and omissions
within the scope of and in furtherance of a crime). {2020 U.S. App LEXIS 4} The application of that rule here meant that the
drug quantity determination needed to account for Helding's dealing of both marijuana and methamphetamine.

Methamphetamine quantities entered the PSR through information provided to law enforcement by five confidential sources
(and presumably passed to the probation officer by the prosecutor or case agent). According to the PSR, the confidential
informants, or Cl's, stated that they bought frequency of those transaction. The PSR, the confidential informants, or Cl's, stated
that they bought methamphetamine from Helding several times and relayed information'of the quantities, prices, and frequency
of those transactions. The PSR reported that Cl-1-tald:law enforcement Helding posses$éd "over a pound" of
methamphetamine on December 16, 2017, and had fronted the informant with a couple of ounces every day or two for two
months. Cl-1 sold the methamphetamine likewise attributed to Cl-1 descriptions of Helding's vehicles and apartment as well as
information that Helding Supplied'methariphetamine to‘customers in‘Merrill and Wausau, Wisconsin. In much the same way,
the PSR included information from Cl-2 spécifically, that this individual saw Helding (2020 U.S'App. LEXIS 5} sell
"multiple ounces" of methamphetamine on three dccasions for $500 perounce. ©) 9%) 1 1!" ie
So, too, did the PSR include information from three other confidential sources. One of them, Cl-1082, was the informant who
originally told law enforcement about Helding’s trip from! California to Wisconsin under the mistaken belief that Helding and
Fidres were transporting methamphetamine instead ‘ct marijuana.'The PSRalso quoted CL-3 ag ‘telling law enforcement that
Helding once traded a half-ounce of "methamphetamine" for a gun. And the PSR quoted Cl-987 as saying Flores regularly sold
the informant "methamphetamine" for $40 to $60 per eighth ounce.

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From this information thé probation officer estimated that Helding possessed and intendéd to distribute at least 64 ounces of
methamphetamine during the relevant period: Helding's drug quaniity shot up to eofe:t Mlegtams of {2020 U.S. App. LEXIS 6}
Helding's advisory sentencing range likewise jumped through the roof, If he had been responsible for just the 143.7 kilograms of
marijuana seized, his offense lével would have béen 26 and his sentencing range 120-150 ménths for the drug offense. And to
the five-year minimum he faced for the gun offense, and Helding's total range would have been 180-210 months. But when the
drug quantity skyrocketed to 4679.7 kilograms of marijuana, Helding's offense level increased to 32 and his sentencing range to
210-262 months. Adding the five' years for the firearm offense, Helding's total range became 270-322. Put most simply, the
spike in {948 F.3d 868} drug quantity increased the advisory range by over seven years. = | 6?

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marijuana. | -

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Helding objected to the PSR's inclusion‘of the methamphetamine, arguing that nothing Corroborated what thé Cl's reportedly
told law'enforcement. Nor, he added did {2020 U.S. App: Lexis 7} the PSR include any explanation of why law enforcement
found the: Cl Informationicredible? ¢ Vs Rew Ss ce Ltaa ne tie) tach cy Sa edit al VSS Aiea scree

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The court held that Heldings drug quantity may not bé enhanced by unreliable Cl's Information once ‘a defendant objects to the
amount of drugs. ° Pe SEG 2h ES eae SG Ha Cum here) De |

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